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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Mary S. Wilson
                                       Plaintiff,
v.                                                      Case No.: 1:21−cv−01955
                                                        Honorable Thomas M. Durkin
United States of America, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 14, 2021:


       MINUTE entry before the Honorable Thomas M. Durkin: The Court requires
additional briefing: (1) Plaintiff should address whether the Court has jurisdiction over her
Excessive Fines Clause claim if Federal Rule of Criminal Procedure 41(g) does not
provide jurisdiction; and (2) the government should address Plaintiff's Excessive Fines
Clause claim in all respects. The parties should file their briefs of no more than 10 pages
each by 11/4/2021. The 11/1/2021 status hearing is vacated. Mailed notice. (ecw, )




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